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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                       Janet M. Bone                                   )
                            Plaintiff                                  )
                       v.                                              )
    Andrew Saul, Commissioner of Social Security                       )      Civil Action No.: 5:20-188-KDW
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: This case is remanded to the Commissioner for further evaluation under the fourth sentence of 42
U.S.C. § 405(g).


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable, Kaymani D. West, United States Magistrate Judge, who granted Defendant’s
Motion to Remand.

                                                                                  ROBIN L. BLUME
Date: October 1, 2020                                                        CLERK OF COURT


                                                                             s/ Glenda J. Nance
                                                                                         Signature of Clerk or Deputy Clerk
